      Case: 3:24-cv-00139-wmc Document #: 63 Filed: 03/25/24 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN

NATIONAL WILDLIFE REFUGE ASSOCIATION,
DRIFTLESS AREA LAND CONSERVANCY, and
WISCONSIN WILDLIFE FEDERATION,

                          Plaintiffs,                  PRELIMINARY INJUCTION
      v.
                                                                   24-cv-139-wmc

RURAL UTITLITIES SERVICE; ANDY BERKE,
Administrator, Rural Utilities Service; UNITED STATES
FISH AND WILDLIFE SERVICE; WILL MEEKS,
Midwest Regional Director, and SABRINA CHANDLER,
Manager, Upper Mississippi River National Wildlife and Fish Refuge,
UNITED STATES ARMY CORPS OF ENGINEERS,
LIEUTENANT GENERAL SCOTT A. SPELLMON, Chief of
Engineers and Commanding General, U.S. Army Corps of
Engineers, COLONEL JESSE T. CURRY, Commander
And District Engineer, Rock Island District, U.S. Army Corps of
Engineers, and COLONEL ERIC SWENSON, Commander and
District Engineer, St. Paul District, U.S. Army Corps of Engineers,

                          Federal Defendants,

                                   and

DAIRYLAND POWER COOPERATIVE, and
ITC MIDWEST LLC,

                          Intervenor-Defendants.


      The court issues this separate, written preliminary injunction in keeping with its

Opinion and Order entered today.

       IT IS ORDERED that the federal defendants and intervenor defendants are

PRELIMINARILY ENJOINED from taking any action to close the land exchange

agreement or begin construction on the stretch of the Cardinal-Hickory Creek

Transmission Line Project running through and across the Upper Mississippi River
      Case: 3:24-cv-00139-wmc Document #: 63 Filed: 03/25/24 Page 2 of 2




National Wildlife and Fish Refuge until after this court has an opportunity to review and

consider the relevant administrative record underlying the federal defendants’ February

2024 administrative decisions and issued a decision on whether to continue plaintiffs'

preliminary injunction further. Those defendants are further directed to expediate the

production of that record.


      Entered this 25th day of March, 2024.

                                         BY THE COURT:

                                         /s/
                                         __________________________________
                                         WILLIAM M. CONLEY
                                         District Judge
